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        IN THE UNITED STATES COURT OF APPEALS
                FOR THE FIFTH CIRCUIT

                 CASE NUMBER 21-11001

          UNITED STATES OF AMERICA,
                     PLAINTIFF-APPELLEE,

                              V.

                    ZACKEY RAHIMI,
                   DEFENDANT-APPELLANT.

 ON DIRECT APPEAL FROM THE UNITED STATES DISTRICT
    COURT FOR THE NORTHERN DISTRICT OF TEXAS
              FORT WORTH DIVISION


         PETITION FOR PANEL REHEARING
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                             Petition for Panel Rehearing

        Appellant Zackey Rahimi requests panel rehearing as to one narrow claim: that

the district court erred when it determined that his unlawful possession of firearms

(and associated misconduct) on November 12, 2020, was not “relevant conduct” for

purposes of sentencing in this case. This Court rejected that claim, App. 3a–4a, but

appears to have overlooked the district court’s undisputed conclusion that similar vio-

lent acts—on December 1, 2, 5, and 20, 2020, and January 7, 2021—were relevant con-

duct.

                             Reasons to Grant Rehearing

I.   The district court concluded that Mr. Rahimi engaged in a continuous
     pattern of violence involving unlawful possession of firearms beginning
     in November 2020. Most of those offenses were relevant conduct, but for
     unknown reasons the court decided that the first was not.

        The indictment alleged, and Mr. Rahimi’s guilty plea admitted, that on January

14, 2021, while he was subject to a two-year agreed protective order issued on February

5, 2020, he possessed a .308-caliber rifle and a .45-caliber pistol in his bedroom.

ROA.20, 68.

        At sentencing, the district court found that Mr. Rahimi had engaged in a variety

of additional criminal activities beginning in December 2019. See United States v.

Rahimi, 61 F.4th 443, 448 (5th Cir. 2023); see also United States v. Rahimi, 144 S. Ct.


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1889, 1894–95 (2024). These same allegations led to a host of charges in Texas courts.

This table summarizes the chronology and the relationship of the various charges and

events at issue:

                    Date of
   Case                           PSR                                        Relevance
                   (Alleged)                        Offense/Event
  Number                        Paragraph                                     Ruling
                     Event
                    Dec. 9,                                                Nonrelevant;
  1635415                          50              Terroristic Threat
                      2019                                                 Consecutive
                    Dec. 9,                  Reckless Discharge of         Nonrelevant;
  1635418                        50, 51
                      2019                  Firearm in Municipality        Consecutive
                    Dec. 9,                     Assault—Family             Nonrelevant;
  1635420                        50, 52
                      2019                         Violence                Consecutive
   324-              Feb. 5,
                                   19          Agreed Protective Order           —
 675717-20            2020
                    May 10,                 Violation of Protective        Nonrelevant;
  1654868                          53
                      2020                          Order                  Consecutive
                   Aug. 30,                   Possession of <1gm           Nonrelevant;
 1657182D                          54
                      2020                   Controlled Substance          Consecutive
                   Nov. 12,                 Aggravated Assault with        Nonrelevant;
 1678799D                          55
                      2020                     Deadly Weapon               Consecutive
                    Dec. 1,                                                 Relevant;
 1672223D                        8, 9, 57          Deadly Conduct
                      2020                                                 Concurrent
                    Dec. 2,                 Aggravated Assault with         Relevant;
  1671143                        10, 60
                      2020                      Deadly Weapon              Concurrent
                    Dec. 5,                  Reckless Discharge of          Relevant;
  1671482                        12, 58
                      2020                  Firearm in Municipality        Concurrent
                    Dec. 20,                Aggravated Assault with         Relevant;
 1676245D                        13, 59
                      2020                      Deadly Weapon              Concurrent
                     Jan. 7,                 Reckless Discharge of          Relevant;
  1672225                        14, 56
                      2020                  Firearm in Municipality        Concurrent
                    Jan. 14,                   Possession of Firearm
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   A. At sentencing, the district court found that Mr. Rahimi committed all
      the alleged acts of misconduct and determined that several violent acts
      were part of the same course of conduct or common scheme involving
      unlawful possession of firearms.

        When applying the federal Sentencing Guidelines, a district court is not limited

to the facts proven beyond a reasonable doubt or admitted in a plea. The Guidelines

take into account the offense of conviction “and all relevant conduct.” U.S.S.G.

§ 1B1.3, cmt., n.1(I). For unlawful possession of a firearm, “relevant conduct” in-

cludes everything the defendant did while unlawfully possessing the firearms named

in the indictment as well as any other misconduct “that were part of the same course

of conduct or common scheme or plan as the offense of conviction.” U.S.S.G.

§ 1B1.3(a)(1)(A), (a)(2); see also § 2K2.1, cmt., n.14.

        Here, the district court determined that Mr. Rahimi committed multiple vio-

lent offenses while illegally possessing firearms on November 12, December 1, 2, 5,

and 20, 2020, and January 7, 2021, and that each of those offenses (other than the

first) was “relevant conduct” to the federal possession offense on January 14, 2021.

That “relevant conduct” determination raised Mr. Rahimi’s Sentencing Guideline cal-

culation. It led to a four-offense-level enhancement for possessing firearms “in con-

nection with” felony offenses of deadly conduct and aggravated assault. ROA.213

¶ 31.



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       Because those previous crimes involved different guns,1 the district court nec-

essarily found that the earlier incidents were “part of the same course of conduct or

common scheme or plan” as the January 14, 2021 possession offense. See U.S.S.G.

§ 2K2.1, cmt., n.14(E)(ii). Mr. Rahimi unsuccessfully objected to the reliability of the

evidence of the unadjudicated allegations. ROA.183. He did not dispute that Decem-

ber 2020 and January 2021 allegations, if true, were relevant conduct. Neither did the

Government. The PSR described a series or spree of offenses involving illegally pos-

sessed guns. ROA.213 ¶ 30 (discussing December 1, 2, 5, and 22, 2020, and January

7, 14, 2021).

   B. The district court excluded the pre-protective-order conduct because
      Mr. Rahimi was not yet prohibited from possessing firearms.

       Mr. Rahimi argued that the district court should also include the December 9,

2019, allegations as relevant conduct. ROA.229-232. The district court disagreed. In

December 2019, Mr. Rahimi was not yet “prohibited from possessing firearms”—those

events preceded the issuance of the protective order in February 2020. ROA.237; see

also ROA.181 (“I don’t see how that this would be part of the same conduct if it




       1
         The indictment and factual resume identified two firearms found in Mr. Rahimi’s room
during the January 14, 2021 search: a .308-caliber rifle and .45-caliber pistol. ROA.20, 68. The De-
cember 2020 allegations involved firearms in completely different calibers: .223, .40, and 9-millime-
ter. ROA.213 ¶ 30.

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occurred in December of 2019, and you don’t have a protective order in place until

February.”).

      Mr. Rahimi challenged this ruling on appeal, and the Court affirmed. Without

abandoning this argument, he acknowledges that the events of December 2019 were

distinct from the others in at least two ways: he was not yet a prohibited person, and

the November–January “spree” began eleven months later. Without additional detail

about what firearm was used, this presents a closer question.

   C. Mr. Rahimi also argued that the events of November 12, 2020, were
      relevant conduct. The district court inexplicably held otherwise.

      Mr. Rahimi also argued that the November 12, 2020, offense belonged in the

“relevant conduct” bucket because he was prohibited from possessing firearms that

day. ROA.178. And the November 12 incident was just 19 days before the December

1 incident. Everyone agrees that the “deadly conduct” offense on December 1, 2020,

is relevant conduct, just like all the subsequent offenses.

      The district court never explained why November 12, 2020, should be treated

any differently than December 1, 2, 5, and 22, 2020. The court may have misunder-

stood the sequence—at one point, the court described this as a question about a “No-

vember 2019 offense” rather than November 2020. ROA.178. The court did not oth-

erwise explain why it concluded that the events of November 12, 2020 were different

from those in December 2020 and January 2021.

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      Following U.S.S.G. § 1B1.3(c), the district court ordered the federal sentence

to run concurrently with every offense it deemed relevant conduct. See ROA.196, 198,

199. For the offenses that were not classified as relevant conduct, the court ordered

consecutive service. Case 1678799D—the November 12, 2020 aggravated assault—fell

on the consecutive list. ROA.198; see also ROA.96.

II. When affirming the consecutive order for the November 2020 case, this
    Court appears to have overlooked the existence of the December 2020
    and January 2021 prosecutions as well as the district court’s undisputed
    conclusion that they are relevant conduct.

   A. The most recent opinion does not mention or discuss the other
      pending Texas cases at all.

      In his opening brief, Mr. Rahimi urged the Court to hold that four of the con-

secutive charges should have been concurrent. Three were “related to” the December

2019 assault and the fourth was “from Rahimi’s aggravated assault of a different

woman in November 2020.” App. 3a n.2.

      This Court’s most recent opinion seems to suggest that these were the only

charges pending in Texas court. Footnote 2 reads, “At the time Rahimi filed this ap-

peal, he faced four state charges stemming from his use of a firearm.” App. 3a (emphasis

added). And the opinion twice characterizes the judgment below as ordering Mr.

Rahimi’s federal sentence “to run consecutively with any state sentences imposed.”

App. 2a (emphasis added); see also App. 3a (The district court “ordered Rahimi’s 73-


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month federal sentence to run consecutively to any sentences stemming from his pend-

ing state charges.”).

       In fact, Mr. Rahimi faced eleven pending Texas charges, including at least seven

involving misuse of firearms. ROA.217-220. Those charges are summarized in the table

above. Of the state charges involving illegally possessed firearms, the district court

ruled that five were relevant to the federal offense. ROA.213, 223. Those acts of vio-

lence took place over several days—December 1, 2, 5, and 20 of 2020, and January 7,

2021—and involved different illegally possessed firearms—i.e., firearms other than the

.308 rifle and .45 pistol giving rise to the federal indictment. ROA.213 ¶ 30. None of

those events involved simple possession in the home, which was the only conduct

committed on January 14, 2021.

       Yet the district court correctly ruled that all the December 2020 crimes were

relevant conduct to the January 2021 offense. Application Note 14(E) of Guideline

2K2.1 explains why: each act of illegal firearm possession in late 2020 was “part of the

same course of conduct or common scheme or plan” as the January 14, 2021 offense.

U.S.S.G. § 2K2.1, cmt., n.14(E)(ii). The district court simply failed to extend or apply

this undisputed reasoning to the November 12, 2020 offense, perhaps because of over-

sight or mistake regarding the sequence.




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   B. The June 2022 withdrawn opinion analyzed the November 12, 2020
      offense in isolation, without addressing the tension or inconsistency
      between this Court’s analysis and the district court’s rulings about
      December 2020 and January 2021.

       In its most recent opinion, the Court favorably cited the withdrawn June 2022

opinion. App. 4a (discussing United States v. Rahimi, No. 21-11001, 2022 WL 2070392

(5th Cir. June 8, 2022), withdrawn, 2022 WL 2552046 (5th Cir. July 7, 2022)). The

withdrawn opinion described the November 12, 2020 event in isolation, without ad-

dressing the other violent events in the same spree:

       Rahimi’s violent use of the firearm in November is meaningfully differ-
       ent from merely possessing a firearm. Because the similarity and tem-
       poral-proximity factors are strained, the district court’s finding that these
       previous acts are not relevant conduct is “plausible in light of the record
       as a whole,” and accordingly is not clearly erroneous.

2022 WL 2070392, at *2 (citation and footnote omitted).

       This excerpt glosses over the district court’s undisputed conclusion that the acts

of firearm violence on December 1, 2, 5, and 20 of 2020, and January 7, 2021, were

all part of the same course of conduct or scheme as the illegal possession on January

14, 2021. Because the Court must review “the record as a whole,” it cannot overlook

the rest of the spree.




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III. The district court’s ruling that the November 2020 case is unrelated
     cannot be squared with its undisputed findings about the December
     2020 offenses.

      Mr. Rahimi takes the unusual step of seeking panel rehearing because the dis-

trict court’s findings about the December and January crimes are critical to his argu-

ment about the November crime. If, as the Court’s opinion suggests, the only offenses

in the record were December 2019, November 2020, and January 2021, then it might

be difficult to show clear error regarding the November 2020 offense.

      The entire record confirms that the district court believed that the several vio-

lent incidents in December 2020 and January 2021 were all part of a single spree, and

that Mr. Rahimi’s possession of firearms on January 14 was part of that spree. No one

disputes that finding. In the context of the entire record, the November 12, 2020

offense flowed quite directly into the next related offense 19 days later, which was

followed by another similar crime the next day, and then another three days later, and

then another fifteen days later, and then another eighteen days later, and then the

federal offense seven days after that.

      The district court believed it was appropriate to sentence Mr. Rahimi for all of

his actions—including “a series of shootings lasting from November of 2020 to January

of 2021.” ROA.200. That “series” was marked by “continuous[ ]” possession of fire-

arms “while prohibited.” ROA.200-201.


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      The Supreme Court also listed the “November” aggravated assault among the

conduct relevant to the decision. 144 S. Ct. at 1895. Far from supporting a distinction

between the November offense and the December–January events, the Supreme

Court’s opinion recognizes that the November 2020 offense is part of the same spree

or sequence that led to the conviction and sentence here.

                                     Conclusion

      Mr. Rahimi asks that the panel reconsider its decision with respect to the No-

vember 2020 offense. He asks that the Court either restore the case to the calendar

with additional briefing from the parties or remand the case to the district court so it

can reexamine the November 2020 offense in light of its findings about the rest of the

offenses in the same spree.

                                                 Respectfully submitted,

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                                 Certificate of Service

      I filed this petition via the Court’s ECF system on September 26, 2024. Oppos-

ing counsel, a registered filer, is deemed served.

                                                 /s/ J. Matthew Wright




                              Certificate of Compliance

      1. This document complies with the type-volume limit of Fed. R. App. P.

40(b)(1) because the document contains 2,733 words.

      2. This document complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because this docu-

ment has been prepared in proportionally spaced typeface using Microsoft Word 2016

in 14-point Goudy Old Style font. Footnotes are in 12-point font.

                                                 /s/ J. Matthew Wright




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        United States Court of Appeals
             for the Fifth Circuit                                    United States Court of Appeals
                             ____________                                      Fifth Circuit

                                                                             FILED
                               No. 21-11001                          September 12, 2024
                             ____________                               Lyle W. Cayce
                                                                             Clerk
United States of America,

                                                              Plaintiff—Appellee,

                                    versus

Zackey Rahimi,

                                        Defendant—Appellant.
               ______________________________

               Appeal from the United States District Court
                   for the Northern District of Texas
                         USDC No. 4:21-CR-83-1
               ______________________________

                 ON REMAND FROM
      THE SUPREME COURT OF THE UNITED STATES

Before Jones, Ho, and Wilson, Circuit Judges.
Per Curiam:
       This case is before us on remand from the Supreme Court. The
district court and a prior panel of this court rejected Zackey Rahimi’s facial
challenge to 18 U.S.C. § 922(g)(8) and upheld his conviction under that
statute. See United States v. Rahimi, No. 21-11001, 2022 WL 2070392 at *1
n.1 (5th Cir. June 8, 2022) (withdrawn July 7, 2022). The prior panel then
withdrew that opinion and requested additional briefing addressing N.Y.


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      State Rifle & Pistol Association. v. Bruen, 142 S. Ct. 2111 (2022), which the
      Supreme Court handed down shortly after our court’s initial affirmance of
      Rahimi’s conviction. United States v. Rahimi, No. 21-11001, 2022 WL
      2552046, at *1 (5th Cir. Jul. 7, 2022). The case was then assigned to this
      panel, which, after the supplemental briefing and oral argument, re-evaluated
      this court’s Second Amendment jurisprudence and concluded that under
      Bruen, § 922(g)(8) failed to pass constitutional muster. United States v.
      Rahimi, 61 F.4th 443, 461 (5th Cir. 2023). We therefore reversed the district
      court’s contrary ruling and vacated Rahimi’s conviction. Id. The Supreme
      Court, clarifying its Bruen test, reversed our judgment and held that
      § 922(g)(8) is facially constitutional. United States v. Rahimi, 602 U.S. ----,
      144 S. Ct. 1889 (2024). 1
              The facts of this case are well-recounted in this court’s prior opinions,
      e.g., 61 F.4th at 448–50, so we do not recite them again here. In his appeal,
      Rahimi raised only two issues: his facial challenge to § 922(g)(8), and
      whether the district court erred in imposing his sentence to run consecutively
      with any state sentences imposed. Rahimi did not lodge an as-applied or due-
      process challenge to § 922(g)(8), or otherwise contest his conviction. Based
      on the Supreme Court’s ruling rejecting his constitutional claim, we
      therefore affirm his conviction.



              _____________________
              1
                We read the Court’s analysis in Rahimi to have modified Bruen in at least one
      relevant respect. In Bruen, the Court instructed that surety laws provided no historical
      analogue for banning a person from having a gun, because surety laws only required
      “certain individuals to post bond before carrying weapons in public.” 597 U.S. at 55.
      “These laws were not bans on public carry.” Id.; see also id. at 59 (same). So any “reliance
      on [surety laws] [was] misplaced.” Id. at 55. In Rahimi, the Court announced that surety
      laws “confirm” that covered individuals “may be disarmed.” 602 U.S. at ----, 144 S. Ct.
      at 1901.




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              With Rahimi’s constitutional challenge settled, we briefly discuss his
      sentencing claim. Weighing the facts underlying Rahimi’s federal and state
      offenses against the Guidelines, the district court concluded that the conduct
      underlying his state offenses was not “relevant conduct” under U.S.S.G.
      § 1B1.3.     Cf. U.S.S.G. § 5G1.3(c) (providing that if “a state term of
      imprisonment is anticipated to result from another offense that is relevant
      conduct to the instant offense of conviction,” see U.S.S.G. § 1B1.3(a)(1)-(3),
      the sentence for the instant federal offense should run concurrently to the
      anticipated state sentences). Based on that finding, the court ordered
      Rahimi’s 73-month federal sentence to run consecutively to any sentences
      stemming from his pending state charges. 2
              This court initially addressed—and rejected—Rahimi’s contention
      that the district court erred when it ordered his federal sentence to run
      consecutively with any sentences imposed as a result of pending state-court
      charges. Post-Bruen, we did not address Rahimi’s sentencing issue because
      we vacated Rahimi’s conviction. See 61 F.4th at 449 n.4. Given that
      Rahimi’s conviction stands, we now also affirm his sentence.
              A district court has the discretion to order its sentences of
      imprisonment to be served concurrently or consecutively to anticipated state
      terms of imprisonment. Setser v. United States, 566 U.S. 231, 236 (2012).
      The sentencing court’s determination of what constitutes relevant conduct
      is a factual finding that is reviewed for clear error. United States v. Barfield,
      941 F.3d 757, 761 (5th Cir. 2019). A determination of relevant conduct is
      “not clearly erroneous as long as [it is] ‘plausible in light of the record as a


              _____________________
              2
                 At the time Rahimi filed this appeal, he faced four state charges stemming from
      his use of a firearm: three related to Rahimi’s physical assault of his girlfriend in December
      2019, and one from Rahimi’s aggravated assault of a different woman in November 2020.




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      whole.’” United States v. Ortiz, 613 F.3d 550, 557 (5th Cir. 2010) (quoting
      United States v. Rhine, 583 F.3d 878, 885 (5th Cir. 2009)).
              Rahimi argues that his four state charges “stem[] from conduct
      dealing with firearms and domestic violence,” such that “all of them are
      relevant conduct” to his federal offense. Thus, he maintains, his federal and
      state sentences should run concurrently, rather than consecutively. But the
      record as a whole plausibly supports the district court’s finding that Rahimi’s
      pending state charges involve alleged conduct not part of the same course of
      conduct as Rahimi’s possession of a firearm in violation of a restraining order
      (and thus in violation of § 922(g)(8)). Accord Rahimi, 2022 WL 2070392, at
      *1–2.
              We AFFIRM Rahimi’s conviction and sentence. Appellant shall
      have fourteen days after entry of this opinion to file any petition for rehearing.
      See Fed. R. App. P. 40(a)(1).




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      James C. Ho, Circuit Judge, concurring:
             The Supreme Court can adjust or amend its own precedents at its
      discretion. Inferior courts have no such luxury. The Supreme Court has
      repeatedly instructed us to follow its precedents, whether we agree with them
      or not—and whether we expect the Court itself to follow them or not. See,
      e.g., Rodriguez de Quijas v. Shearson/Am. Exp., 490 U.S. 477, 484 (1989);
      Agostini v. Felton, 521 U.S. 203, 237 (1997); State Oil Co. v. Khan, 522 U.S. 3,
      20 (1997); United States v. Hatter, 532 U.S. 557, 567 (2001).
             So we’d be defying the Court’s express command if we decided cases
      based on anticipated changes to its precedents. It’s up to the Court to modify
      or overrule its own precedents, as it alone deems appropriate—and to reverse
      us when it does. See, e.g., Jackson Women’s Health Org. v. Dobbs, 597 U.S.
      215 (2022), rev’g 945 F.3d 265 (5th Cir. 2019).
             That’s exactly what happened here. We faithfully applied the Court’s
      decision in N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1 (2022).
      See United States v. Rahimi, 61 F.4th 443 (5th Cir. 2023). No member of our
      court disagreed with our interpretation or application of Bruen. As one of our
      distinguished colleagues put it, our job is not to relitigate Bruen, but to
      “operat[e] in good faith” and “faithfully implement Bruen.” United States
      v. Daniels, 77 F.4th 337, 357–58 (5th Cir. 2023) (Higginson, J., concurring).
             The Court has now modified Bruen—as our decision today explains.
      See United States v. Rahimi, 602 U.S. _ (2024), rev’g 61 F.4th 443; ante, at 2
      n.1. I write separately to note a second alteration to Court precedent. In the
      past, the Court has held unconstitutional laws that punish people who don’t
      belong in federal prison—even if the defendant himself does. See, e.g., United
      States v. Lopez, 514 U.S. 549 (1995); see also United States v. Kersee, 86 F.4th
      1095, 1101–02 & n.2 (5th Cir. 2023) (Ho, J., concurring). That principle
      readily applies here—victims of domestic violence don’t belong in prison.




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             Violent criminals should be disarmed, detained, prosecuted,
      convicted, and incarcerated. See Rahimi, 61 F.4th at 463 (Ho, J., concurring).
      No doubt that’s what Congress had in mind when it enacted 18 U.S.C.
      § 922(g)(8). But § 922(g)(8) also punishes victims of domestic violence. As
      a number of amici have explained, § 922(g)(8) punishes victims who don’t
      present any danger to anyone, but who are nevertheless subject to a
      protective order. It should go without saying that domestic violence victims
      shouldn’t be imprisoned for exercising their Second Amendment rights.
             The National Association of Criminal Defense Lawyers and the Bronx
      Defenders Union, for example, noted that “the Government tries to assure
      this Court that states are foolproof in issuing orders of protection,” but that
      “[t]his could not be further from the truth.” Brief of The Bronx Defenders
      Union and National Association of Criminal Defense Lawyers as Amici
      Curiae in Support of Respondent, at 4, United States v. Rahimi, No. 22–915
      (2024). “In our experience, the net of orders of protection is so big that it
      frequently entangles . . . the actual victims in the relationships.” Id. (emphasis
      added). “The Government does not address the reality that states frequently
      get it wrong”—namely, by “arresting the wrong partner.” Id. at 4–5.
             The California Public Defenders Association and the Alameda
      County Public Defenders expressed the same concerns. They observed that
      “[t]here is almost no incentive to deny a petitioner a restraining order.”
      Brief of Amici Curiae Alameda County Public Defenders and California
      Public Defenders Association in Support of Respondent, at 33, United States
      v. Rahimi, No. 22–915 (2024). “[T]rial judges are often personally invested
      in being overly cautious.” Id. “We have observed firsthand how mutual
      restraining orders are prone to manipulation and weaponization of a very




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      important process, not to mention disarming the victim of domestic violence.”
      Id. at 34 (emphasis added).
             Other amici identified similar issues. See, e.g., Brief of Amici Curiae
      Phyllis Schlafly Eagles and Eagle Forum Education & Legal Defense Fund in
      Support of Respondent, at 3–4, United States v. Rahimi, No. 22–915 (2024)
      (“It has long been common knowledge that restraining orders are used by
      lawyers for strategic advantage, rather than for genuine safety concerns.”).
                                            ***
             The message of these amici is simple: § 922(g)(8) punishes victims of
      domestic violence. See also Rahimi, 61 F.4th at 465–67 (Ho, J., concurring)
      (quoting scholars and judges who have expressed similar concerns).
             On the other hand, Zackey Rahimi is by all accounts a dangerous
      person who should be in prison. So should we decline to hear his claim, and
      wait to address the problems with § 922(g)(8) in some future case?
             Well, consider what the Court did in Lopez. Like Rahimi, Lopez is a
      dangerous person. Lopez was paid to bring a gun to school “so that he . . .
      could deliver it after school to ‘Jason,’ who planned to use it in a ‘gang war.’”
      United States v. Lopez, 2 F.3d 1342, 1345 (5th Cir. 1993). But the Court
      nevertheless decided Lopez’s Commerce Clause challenge—and held the
      Gun-Free School Zones Act unconstitutional—because it sweeps in those
      who don’t belong in a federal prison. See 514 U.S. at 562 (“§ 922(q) has no
      express jurisdictional element which might limit its reach to a discrete set of
      firearm possessions that additionally have an explicit connection with or
      effect on interstate commerce.”).
             The same logic applies here. As counsel for Rahimi explained:
             Ours is a facial challenge in the way that Lopez was a facial
             challenge, where the facts of Lopez were clearly within




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              Congress’s power under the Commerce Clause. This Court
              found the facts of that case were Person A was going to pay
              Lopez $40 to give that gun to Person C after school.
              That’s within the commerce power, but the statute itself was
              not within Congress’s power to enact. And so that statute
              failed as it then existed, the pre-amendment version of the
              Gun-Free School Zones Act, on its face.
      Oral Arg. Tr. at 64, United States v. Rahimi, No. 22–915 (2024).
              As noted, Lopez involved a claim under the Commerce Clause, not the
      Second Amendment. But the Court has repeatedly instructed that “[t]he
      constitutional right to bear arms in public for self-defense is not ‘a second-
      class right, subject to an entirely different body of rules than the other Bill of
      Rights guarantees.’” Bruen, 597 U.S. at 70 (quoting McDonald v. City of
      Chicago, 561 U.S. 742, 780 (2010) (plurality opinion)). So our court dutifully
      decided Rahimi’s claim.
              The Supreme Court has now decided Rahimi. The decision does not
      mention Lopez, and it does not allow Rahimi to litigate the sincere concerns
      expressed by various amici curiae, judges, scholars, and practitioners. It does
      acknowledge the “potential faults” with § 922(g)(8). 602 U.S. at _ n.2. But
      it concludes that any defects must be addressed in a future proceeding. 1
              I accordingly agree that we should affirm.




              _____________________
              1
                In response to Lopez, Congress fixed § 922(q) to ensure that it targets only those
      who belong in federal prison. See Omnibus Consolidated Appropriations Act of 1997, Pub.
      L. No. 104-208, § 101(f), 110 Stat. 3009, 3009-370 (1996) (codified as amended at 18 U.S.C.
      § 922(q)(2)(A)). Congress could likewise fix § 922(g)(8) to ensure that it targets only
      violent criminals, and not victims of domestic violence.




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